         Case 2:09-cr-00407-KJM Document 565 Filed 11/21/16 Page 1 of 3


 1

 2

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          No. 2:09-cr-0407 KJM
12                      Plaintiff,
13          v.                                          ORDER
14   MARTIN GARCIA-CHAVEZ,
15                      Defendant.
16

17                  Defendant Martin Garcia-Chavez, proceeding pro se1, has filed a motion to reduce

18   his sentence based on 18 U.S.C. § 3582(c)(2). ECF No. 536. The government opposes the

19   motion. ECF No. 553.

20                  Defendant relies on Amendment 782 to U.S.S.G. § 1B1.10, which became

21   effective November 1, 2014 and lowered by two points the base offense level for most drug

22   trafficking offenses. The Amendment applies retroactively to defendants sentenced prior to its

23   effective date. See Serrano v. United States, 2014 WL 6773237 (E.D. Cal. 2014), slip op. at 1.

24   After consideration of the moving papers, the relevant parts of the record, and applicable legal

25   principles, the court denies defendant’s motion.

26                  On September 30, 2015, defendant pleaded guilty to conspiracy to manufacture at

27
     1
      On July 19, 2016, the Office of the Federal Defender filed notice that it would not file a
28   supplement to defendant’s pro se motion. See ECF No. 548.
                                                    1
       Case 2:09-cr-00407-KJM Document 565 Filed 11/21/16 Page 2 of 3


 1   least 100 marijuana plants and possession of a firearm in furtherance of that drug trafficking
 2   crime. ECF Nos. 476, 482. Defendant’s plea was in accordance with a Rule 11(c)(1)(C) plea
 3   agreement. ECF Nos. 476, 482. On January 20, 2016, defendant was sentenced to a total of 144
 4   months in prison. ECF No. 121.
 5                   The authority of the district courts to modify a prison sentence is governed by
 6   18 U.S.C. § 3582. In relevant part, § 3582 provides:
 7                   (2) in the case of a defendant who has been sentenced to a term of
                     imprisonment based on a sentencing range that has subsequently
 8                   been lowered by the Sentencing Commission pursuant to 28 U.S.C.
                     994(o), upon motion of the defendant . . ., the court may reduce the
 9                   term of imprisonment, after considering the factors set forth in
                     section 3553(a) to the extent they are applicable, if such a reduction
10                   is consistent with applicable policy statements issued by the
                     Sentencing Commission.
11

12   18 U.S.C. § 3582(c)(2).
13                   As the Ninth Circuit recognizes, “[t]he Supreme Court has clarified that section
14   3582(c)(2) requires a two-step inquiry.” United States v. Dunn, 728 F.3d 1151, 1155 (9th Cir.
15   2013) (citing Dillon v. United States, 560 U.S. 817, 827 (2010)). “First, a district court must
16   determine whether a prisoner is eligible for a sentence modification under the Commission’s
17   policy statement in U.S.S.G §1B1.10.” Id. (citing Dillon, 560 U.S. at 827). This is done “by
18   ‘“determin[ing] the amended guideline range that would have been applicable to the defendant”
19   had the relevant amendment been in effect at the time of the initial sentencing.’ Dillon, 130 S. Ct.
20   at 2691 (quoting §1B1.10(b)(1)).” Dunn, 728 F.3d at 1155 n.3. Generally, §1B1.10 precludes
21   reduction of a term of imprisonment below the minimum of the amended guideline range. Id.
22   However, U.S.S.G. §1B1.10(b)(2)(B) authorizes a reduction below the amended guideline range
23   for a defendant whose original sentence was below the applicable guideline range based on
24   substantial assistance to the government.2
25
            2
                U.S.S.G. § 1B1.10((b)(2)(B) (2014) provides:
26
                     (B) Exception for Substantial Assistance.—If the term of
27                   imprisonment imposed was less than the term of imprisonment
                     provided by the guideline range applicable to the defendant at the
28                   time of sentencing pursuant to a government motion to reflect the
                                                     2
       Case 2:09-cr-00407-KJM Document 565 Filed 11/21/16 Page 3 of 3


 1                  Assuming arguendo that defendant’s Rule 11(c)(1)(C) plea agreement does not
 2   preclude the court’s exercise of jurisdiction over this motion, see generally United States v.
 3   Davis, 825 F.3d 1014 (9th Cir. 2016) (en banc), defendant is not entitled to relief. As noted
 4   above, Amendment 782 became effective on November 1, 2014 and reduced by two points the
 5   base offense level for most drug trafficking offenses. Here, defendant’s base offense level was
 6   calculated using the 2015 United States Sentencing Guidelines Manual, which incorporated all
 7   relevant guideline amendments, including the reduced base offense levels effected by
 8   Amendment 782. See PSR ¶ 27.3 A fortiori, Amendment 782 did not reduce defendant’s
 9   sentencing guideline range and his motion will be denied.
10                  For the foregoing reasons, IT IS HEREBY ORDERED that defendant Martin
11   Garcia-Chavez’s motion to reduce sentence, ECF No. 536, is denied.
12   DATED: November 18, 2016.
13

14                                               UNITED STATES DISTRICT JUDGE
15

16

17

18

19

20

21

22

23

24

25                  defendant’s substantial assistance to authorities, a reduction
                    comparably less than the amended guideline range determined
26                  under subdivision (1) of this subsection may be appropriate.
            3
27            A copy of the final Presentence Investigation Report (PSR) prepared for defendant’s
     sentence was filed under seal on November 25, 2015. ECF No. 503.
28
                                                      3
